                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION


UNITED STATES OF AMERICA                              CASE NO. 5:18-CR-48

     v.                                               VIOLATIONS:

THOMAS H. SACHY,                                      18 u.s.c. § 371

Defendant.


                               SUPERSEDING INFORMATION

 THE UNITED ST ATES ATTORNEY CHARGES:

                                          INTRODUCTION

          At all times material to this   .,,.,.,fl• S1.1p<KS<.d i   11~   ~fqy-n1l.t,<M:

 1. The Controlled Substances Act, Title 21, United States Code, Sections 801 and

    following ("CSA") governs the manufacture, distribution, and dispensing of

    controlled substances in the United States. With limited exceptions for medical

    professionals, the CSA makes it "unlawful for any person knowingly or

    intentionally ... to manufacture, distribute, or dispense ... a controlled substance."

 2. The CSA defines a" controlled substance" as a drug or other substance that is included

    in one of five schedules - Schedule I, II, III, IV, or V - of Subchapter I, Part B of the

    Act. Title 21, United States Code, Section 802(6). Drugs or substances are placed into

    these schedules based on their potential for abuse among other things.

          a. "Schedule II" means that the drug or other substance has a currently accepted

             medical use with severe restrictions and has a high potential for abuse that can
          lead to severe psychological or physical dependence. Title 21, United States

          Code, Section 812(b)(2).

      b. "Schedule III" means that the drug or other substance has a currently accepted

          medical use with a potential for abuse that is less than those listed in Schedule

          II, but can lead to moderate or low physical dependence or high psychological

          dependence. Title 21, United States Code, Section 812(b)(3).

      c. "Schedule IV" means that the drug or other substance has a currently accepted

          medical use with a low potential for abuse relative to those listed in Schedule

          III and can lead to limited physical or psychological dependence. Title 21,

          United States Code, Section 812(b)(4).

3. Title 21, Code of Federal Regulations, Sections 1308.12, 1308.13, 1308.14, and 1308.15

   consist of the drugs and other substances contained in Schedules II, III, IV, and V,

   respectively.

      a. Hydrocodone, an opioid pain medication, is a Schedule II controlled substance.

          Title 21, Code of Federal Regulations, Section 1308.12(b)(l)(vi). Hydrocodone,

          which may be combined with acetaminophen, is sold generically under a

          variety of brand names including Vicodin, Lortab, Lorcet, and Norco.

      b. Morphine, an opioid pain medication, is a Schedule II controlled substance.

          Title 21, Code of Federal Regulations, Section 1308.12(b)(l)(ix).

      c. Oxycodone, an opioid pain medication, is a Schedule II controlled substance.

          Title 21, Code of Federal Regulations, Section 1308.12(b)(l)(xiii). Oxycodone,
     which may be combined with acetaminophen, is sold generically under a

     variety of brand names including Percocet, OxyContin, and Roxicodone.

d. Fentanyl, an opioid pain medication, is a Schedule II controlled substance. Title

     21, Code of Federal Regulations, Section 1308.12(c)(9).

e. Methadone, an opioid pain medication, is a Schedule II controlled substance.

     Title 21, Code of Federal Regulations, Section 1308.12(c)(15).

f. Lisdexamfetamine, which is classified as a stimulant, is a Schedule II controlled

     substance. Title 21, Code of Federal Regulations, Section 1308.12(d)(5).

     Lisdexamfetamine is sold generically under a variety of brand names including

     Vyvanse.

g. Alprazolam, which is classified as a depressant, is a Schedule IV controlled

     substance. Title 21, Code of Federal Regulations, Section 1308.14(c)(2).

     Alprazolam is sold generically and under a variety of brand names including

     Xanax.

h. Carisoprodol, which is classified as a depressant, is a Schedule IV controlled

     substance. Title 21, Code of Federal Regulations, Section 1308.14(c)(6).

     Carisoprodol is sold generically and under a variety of brand names including

     Soma.

i.   Diazepam, which is classified as a depressant, is a Schedule IV controlled

     substance. Title 21, Code of Federal Regulations, Section 1308.14(c)(16).

     Diazepam is sold generically and under a variety of brand names including

     Valium and Diastat.
      j.   Phentermine, which is classified as a stimulant, is a Schedule IV controlled

           substance. Title 21, Code of Federal Regulations, Section 1308.14(£)(9).

           Phentermine is sold generically and under a variety of brand names including

           Adipex and Fastin.

4. Title 21, United States Code, Section 822(b) and Title 21, Code of Federal Regulations,

   Section 290.1, provide that the controlled substances listed in Schedules II, III, IV, and

   V can be dispensed or distributed only by prescriptions by a practitioner registered

   with the United States Drug Enforcement Administration ("DEA") for that purpose.

   The DEA, as authorized by the Controlled Substances Act, issues registration

   numbers to qualifying medical practitioners that allow them to issue prescriptions for

   Schedule II, Ill, IV, and V controlled substances. Accordingly, controlled substances,

   such as opioid pain medications, can be dispensed only pursuant to a valid

   prescription from a medical practitioner authorized by the DEA to distribute

   controlled substances. Title 21, Code of Federal Regulations, Section 1306.03.

5. The term "dispense" means to deliver a controlled substance to an ultimate user or

   research subject by, or pursuant to the lawful order of, a practitioner, including the

   prescribing and administering of a controlled substance and the packaging, labeling,

   or compounding necessary to prepare the substance for such delivery. The term

   "dispenser" means a practitioner who so delivers a controlled substance to an

   ultimate user. Title 21, United States Code, Section 802(10).

6. The term "distribute" means to deliver (other than by administering or dispensing) a

   controlled substance or a listed chemical. The term "distributor" means a person who
   so delivers a controlled substance or a listed chemical. Title 21, United States Code,

   Section 802(11).

7. Title 21, Code of Federal Regulations, Section 1306.04 provides that in order for a

   prescription for a controlled substance to be valid, it "must be issued for a legitimate

   medical purpose by an individual practitioner acting in the usual course of his

   professional practice."

8. A prescription for a controlled substance that was issued without a legitimate medical

   purpose or outside of the individual practitioner's usual course of his professional

   practice is not a valid prescription, and the person who issues the prescription violates

   Title 21, United States Code, Section 84l(a)(l).

9. At the time of the events in the Indictment, Defendant THOMAS H. SACHY was

   registered. with the DEA under the provisions of the Controlled Substances Act and

   was assigned a DEA registration number that authorized him to write prescriptions

   for Schedule II, III, IV, and V controlled substances. Defendant THOMAS H. SACHY

   also held a license to practice medicine in the State of Georgia and was employed at

   Georgia Pain and Behavioral Medicine in Gray, Jones County, Georgia.

10. At the time of the events in the Indictment, Defendant THOMAS H. SACHY was the

   only person at Georgia Pain and Behavioral Medicine that was a medical doctor and

   the only person that was authorized to practice medicine or write prescriptions.

                                   COUNT ONE
           (Conspiracy to Distribute and Dispense Controlled Substances)
11. The allegations contained in paragraphs 1 through 10 of the Indictment are hereby

   repeated, re-alleged, and incorporated by reference as if duly set forth herein.

12. Beginning on a date unknown, but no later than January 1, 2013, and continuing up

   to and including May 1, 2018, in the Macon Division of the Middle District of Georgia

   and elsewhere within the jurisdiction of this Court,

                                THOMAS H. SACHY,
               a physician authorized to prescribe controlled substances,

Defendant herein, did knowingly combine, conspire, confederate, agree and have a tacit

understanding with others known and unknown to the United States Attorney, to

knowingly and intentionally distribute and dispense, and cause to be distributed and

dispensed, outside the usual course of professional medical practice and for no legitimate

medical purpose, a prescription dated March 28 th, 2016 for Vyvanse 70mg #30, Oxycontin

80 #120, Oxycontin 60 #60, Oxycodone 30 #240, and Hydrocodone 10/325 in violation of

Title 21, United States Code, Section 841(a)(l).

                    Purposes, Manner, and Means of the Conspiracy

13. The purposes, manner, and means of the conspiracy, included but were not limited

   to, the following:

14. Defendant operated and assisted in operating Georgia Pain and Behavioral Medicine

   in Gray, Jones County, Georgia.

15. To accomplish this purpose, THOMAS H. SACHY, a physician authorized to

   prescribe controlled substances, with the knowing involvement and participation of

   those known and unknown to the United States Attorney, knowingly prescribed
   Vyvanse, Oxycontin, Oxycodone, and Hydrocodone for reasons other than a

   legitimate medical purpose and not in the usual course of professional treatment, thus

   causing, aiding, abetting, and facilitating the misuse, abuse, and further distribution

   of the prescribed controlled substances.

16. Defendant issued a prescription dated March 28 th, 2016 for Vyvanse 70mg #30,

   Oxycontin 80 #120, Oxycontin 60 #60, Oxycodone 30 #240, and Hydrocodone 10/325.

                                        Overt Acts

17. In furtherance of the conspiracy and to effect the objects of the conspiracy, the

   following overt acts, among others, were committed in the Middle District of Georgia

   and elsewhere:

18. On March 28, 2016 defendant knowingly and intentionally distributed and dispensed,

   and cause to be distributed and dispensed, outside the usual course of professional

   medical practice and for no legitimate medical purpose, a prescription dated March

   28 th, 2016 for Vyvanse 70mg #30, Oxycontin 80 #120, Oxycontin 60 #60, Oxycodone

   30 #240, and Hydrocodone 10/325 in violation of Title 21, United States Code, Section

   841(a)(l).

      All in violation of Title 18, United States Code, Section 371 in connection with Title

21, United States Code, Sections 841(a)(l) and (b)(l)(C)

                                  FORFEITURE NOTICE
           (18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461 - Criminal Forfeiture)

      1.        The allegations contained in Count One of this Superseding Information are

hereby realleged and incorporated by reference for the purpose of alleging forfeitures
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     pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United States

     Code, Section 2461(c).

     2.      Pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United

     States Code, Section 2461(c), upon conviction of a conspiracy to violate section Title 21,

     United States Code, Sections 841(a)(l) and (b)(l)(C) in violation of Title 18, United States

     Code, Section 371, the defendant, Thomas Sachy, shall forfeit to the United States of

     America any property, real or personal, which constitutes or is derived from proceeds

     traceable to said violations.

     3.      If any of the property described above, as a result of any act or omission

     of the defendants:

          a. cannot be located upon the exercise of due diligence;

          b. has been transferred or sold to, or deposited with, a third party;

          c. has been placed beyond the jurisdiction of the court;

          d. has been substantially diminished in value; or

          e. has been commingled with other property which cannot be divided without

             difficulty,

     the United States of America shall be entitled to forfeiture of substitute property pursuant

     to Title 21, United States Code, Section 853(p ), as incorporated by Title 28, United States

     Code, Section 2461(c).
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         Presented by:

         PETER D. LEARY
         UNITED STATES ATTORNEY

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         C. SHANELLE BOOKER
         Assistant United States Attorney

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                                                       2023.
